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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS


In Re: Alexander E. Jones and Official Committee                  Case No.: 22−33553
       Of Unsecured Creditors
       Debtor                                                     Chapter: 7


                           NOTICE OF FILING OF OFFICIAL TRANSCRIPT

An official transcript has been filed in this case and it may contain information protected under the
E-Government Act of 2002, and Fed. R. Bank. P. 9037.

Transcripts will be electronically available on PACER to the public 90 days after their filing with the court.
To comply with privacy requirements of Fed. R. Bank. P. 9037, the parties must ensure that certain protected
information is redacted from transcripts prior to their availability on PACER.

If redaction is necessary, the parties must file a statement of redaction listing the items to be redacted, citing
the transcript's docket number, the item's location by page and line, and including only the following portions
of the protected information. This statement must be filed within 21 days of the transcript being filed. A
suggested form for the statement of redaction is available at https://www.txs.uscourts.gov/.

      • the last four digits of the social security number or taxpayer identification number;
      • the year of the individual's birth;
      • the minor's initials;
      • the last four digits of the financial account number; and
      • the city and state of the home address.

Any additional redaction requires a separate motion and Court approval.

A party may review the transcript at the Clerk's Office public terminals or purchase it by following the
instruction on our website at https://www.txs.uscourts.gov/ or by calling (713) 250−5500 . A party is only
responsible for reviewing the:

      • opening and closing statements made on the party's behalf;
      • statements of the party;
      • testimony of any witness called by the party; and
      • any other portion of the transcript as ordered by the court.

Redaction is your responsibility. The Clerk, court reporter, or transcriber will not review this transcript for
compliance.

                                                                  Nathan Ochsner
                                                                  Clerk of Court
